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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


    IN RE PAYMENT CARD                                       No. 05-md-01720 (MKB)(JO)
    INTERCHANGE FEE AND
    MERCHANT DISCOUNT
    ANTITRUST LITIGATION


    This Document Applies to:


    All Actions.




                               STIPULATION AND [PROPOSED] ORDER

           WHEREAS, the parties have been actively engaging in discovery for a substantial period

    and have worked cooperatively to schedule depositions and serve additional requests in advance

    of the April 30, 2018 deadline for fact discovery;

           WHEREAS, plaintiffs and defendants seek limited additional time to complete certain

    fact discovery:

           NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, subject to the

    approval of the Court, that:

           1.         The deadline for completing discovery of non-parties shall be extended to June 8,

    2018. The parties agreed to identify all non-party depositions or non-party document subpoenas

    they intend to request or issue (including any depositions of previously requested but currently

    unscheduled former employees of a party that are not being represented by that party’s counsel)

    by April 6, 2018. The parties agreed that, except as to non-parties that are absent members of the

    proposed Rule 23(b)(2) and 23(b)(3) classes, the parties would issue any subpoenas for these
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    additional documents or depositions by April 13, 2018. The parties agreed to notify Class

    Counsel of any outstanding deposition or document subpoenas to non-parties that are absent

    members of the proposed Rule 23(b)(2) and 23(b)(3) classes by April 13, 2018, and to serve

    those subpoenas by April 26, 2018. Cross-notices of any non-party will be served by the parties

    in accordance with the deposition protocol. In sum, the parties agree that no more non-party

    depositions will be requested and no more document subpoenas will be issued other than (a) to

    absent members of the proposed Rule 23(b)(2) and 23(b)(3) classes that have already been

    identified or (b) cross-notices in accordance with the deposition protocol.

           2.      Except for the banks that are defendants in the Rule 23(b)(3) Class Complaint

    (Barclays, Capital One, Fifth Third, First National Bank of Omaha, HSBC, PNC, SunTrust, and

    Texas Independent Bancshares) and Rule 23(b)(2) Class Complaint (Barclays and Capital One)

    but not in the Direct Action Plaintiffs’ actions (hereinafter the “Class Bank Defendants”), or

    unless otherwise agreed in any other stipulation with a specific plaintiff, the deadline for

    completing depositions shall also be extended to June 8, 2018 with respect to (a) all previously

    identified but unscheduled party witnesses that were identified by March 31, 2018 and (b)

    employees and former employees of the Rule 23(b)(2) class representatives, Marathon Petroleum

    Company LP, Gulf Oil Limited Partnership, National Railroad Passenger Corporation, Petco

    Animal Supplies, Inc., Priceline Group Inc., and Priceline.com, LLC, and Speedway LLC. With

    respect to the entities listed in clause (b) in the preceding sentence, the parties agree to endeavor

    to schedule 30(b)(6) depositions sufficiently in advance of June 8, 2018 so that individual

    depositions can occur by that date. The parties disagree about whether plaintiffs may take any

    additional depositions of the Class Bank Defendants (or their current or former employees), and




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    reserve all rights on that issue, but agree that if any such depositions do occur, they will be

    completed by July 31, 2018.

           3.      The April 30, 2018 fact discovery deadline shall not apply to the service of

    contention interrogatories or requests for admission. By agreement of the parties, (a) defendants

    may serve contention interrogatories and requests for admission between August 31, 2018 and

    October 30, 2018, and (b) plaintiffs may serve contention interrogatories and requests for

    admission between February 28, 2019 and April 30, 2019. Each side may also serve additional

    contention interrogatories and additional requests for admission on each plaintiff or defendant no

    earlier than May 31, 2019. Absent further agreement, each party shall respond within 45 days of

    service to contention interrogatories or requests for admission. The parties further agree to

    endeavor to reach an agreement before June 25, 2018 on reciprocal reasonable limits on the

    number of requests for admission and contention interrogatories that may be served during each

    time period described above. If the parties are unable to reach agreement on such limits, then

    they agree to raise this dispute with the Court no later than June 28, 2018. The parties also agree

    to further endeavor to reach an agreement regarding the authentication and admissibility of

    documents.

           4.      All other case deadlines ordered by the Court shall remain unchanged, and no

    party may use this stipulation and extension of time as a basis to extend any other case deadline,

    including the deadline to file expert reports.




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    Dated: April 17, 2018


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 SO ORDERED:

 Dated:



 ___________________
 Brooklyn, New York                                United States District Judge




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